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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )
                vs.                               )                 8:05CR97
                                                  )
THOMAS L. FLEMING,                                )                  ORDER
                                                  )
                       Defendant.                 )



      Before the court is the government’s Consent Motion to Continue Rule 11 Hearing [38].
Good cause being shown, the motion will be granted and the change of plea hearing on
defendant Thomas L. Fleming will be rescheduled.

         IT IS ORDERED:

         1.     That the Consent Motion to Continue Rule 11 Hearing [38] is granted; and

         2.     That the Change of Plea hearing is continued to August 11, 2005 at 3:00 p.m.
                before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second Floor, Roman
                L. Hruska U.S. Courthouse, 111 So. 18th Plaza, Omaha, Nebraska.

        For this defendant, the time between August 1, 2005 and the hearing on the
anticipated plea of guilty is excluded for purposes of computing the limits under the Speedy
Trial Act. See 18 U.S.C. § 3161(h)(1)(I)&(h)(8)(A)(B).

         Since this is a criminal case, the defendant must be present, unless excused by the
Court.

         DATED this 2nd day of August, 2005.

                                               BY THE COURT:


                                               s/ F.A. Gossett
                                               United States Magistrate Judge
